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                          EXHIBIT 4
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                      Version 3, 29 June 2007

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  Some devices are designed to deny users access to install or run
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pattern of such abuse occurs in the area of products for individuals to
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of the GPL, as needed to protect the freedom of users.

  Finally, every program is threatened constantly by software patents.
States should not allow patents to restrict development and use of
software on general-purpose computers, but in those that do, we wish to
avoid the special danger that patents applied to a free program could
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make it effectively proprietary. To prevent this, the GPL assures that
patents cannot be used to render the program non-free.

  The precise terms and conditions for copying, distribution and
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  To "propagate" a work means to do anything with it that, without
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  To "convey" a work means any kind of propagation that enables other
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  An interactive user interface displays "Appropriate Legal Notices"
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the interface presents a list of user commands or options, such as a
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 1. Source Code.

  The "source code" for a work means the preferred form of the work
for making modifications to it. "Object code" means any non-source
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  A "Standard Interface" means an interface that either is an official
standard defined by a recognized standards body, or, in the case of
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  The "System Libraries" of an executable work include anything, other
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implementation is available to the public in source code form. A
"Major Component", in this context, means a major essential component
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(kernel, window system, and so on) of the specific operating system
(if any) on which the executable work runs, or a compiler used to
produce the work, or an object code interpreter used to run it.

  The "Corresponding Source" for a work in object code form means all
the source code needed to generate, install, and (for an executable
work) run the object code and to modify the work, including scripts to
control those activities. However, it does not include the work's
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the work, and the source code for shared libraries and dynamically
linked subprograms that the work is specifically designed to require,
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    b) The work must carry prominent notices stating that it is
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    additional terms, to the whole of the work, and all its parts,
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    interfaces that do not display Appropriate Legal Notices, your
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  A compilation of a covered work with other separate and independent
works, which are not by their nature extensions of the covered work,
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in or on a volume of a storage or distribution medium, is called an
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of sections 4 and 5, provided that you also convey the
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in one of these ways:

    a) Convey the object code in, or embodied in, a physical product
    (including a physical distribution medium), accompanied by the
    Corresponding Source fixed on a durable physical medium
    customarily used for software interchange.

    b) Convey the object code in, or embodied in, a physical product
    (including a physical distribution medium), accompanied by a
    written offer, valid for at least three years and valid for as
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    long as you offer spare parts or customer support for that product
    model, to give anyone who possesses the object code either (1) a
    copy of the Corresponding Source for all the software in the
    product that is covered by this License, on a durable physical
    medium customarily used for software interchange, for a price no
    more than your reasonable cost of physically performing this
    conveying of source, or (2) access to copy the
    Corresponding Source from a network server at no charge.

    c) Convey individual copies of the object code with a copy of the
    written offer to provide the Corresponding Source. This
    alternative is allowed only occasionally and noncommercially, and
    only if you received the object code with such an offer, in accord
    with subsection 6b.

    d) Convey the object code by offering access from a designated
    place (gratis or for a charge), and offer equivalent access to the
    Corresponding Source in the same way through the same place at no
    further charge. You need not require recipients to copy the
    Corresponding Source along with the object code. If the place to
    copy the object code is a network server, the Corresponding Source
    may be on a different server (operated by you or a third party)
    that supports equivalent copying facilities, provided you maintain
    clear directions next to the object code saying where to find the
    Corresponding Source. Regardless of what server hosts the
    Corresponding Source, you remain obligated to ensure that it is
    available for as long as needed to satisfy these requirements.

    e) Convey the object code using peer-to-peer transmission, provided
    you inform other peers where the object code and Corresponding
    Source of the work are being offered to the general public at no
    charge under subsection 6d.

  A separable portion of the object code, whose source code is excluded
from the Corresponding Source as a System Library, need not be
included in conveying the object code work.

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tangible personal property which is normally used for personal, family,
or household purposes, or (2) anything designed or sold for incorporation
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doubtful cases shall be resolved in favor of coverage. For a particular
product received by a particular user, "normally used" refers to a
typical or common use of that class of product, regardless of the status
of the particular user or of the way in which the particular user
actually uses, or expects or is expected to use, the product. A product
is a consumer product regardless of whether the product has substantial
commercial, industrial or non-consumer uses, unless such uses represent
the only significant mode of use of the product.

  "Installation Information" for a User Product means any methods,
procedures, authorization keys, or other information required to install
and execute modified versions of a covered work in that User Product from
a modified version of its Corresponding Source. The information must
suffice to ensure that the continued functioning of the modified object
code is in no case prevented or interfered with solely because
modification has been made.

  If you convey an object code work under this section in, or with, or
specifically for use in, a User Product, and the conveying occurs as
part of a transaction in which the right of possession and use of the
User Product is transferred to the recipient in perpetuity or for a
fixed term (regardless of how the transaction is characterized), the
Corresponding Source conveyed under this section must be accompanied
by the Installation Information. But this requirement does not apply
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if neither you nor any third party retains the ability to install
modified object code on the User Product (for example, the work has
been installed in ROM).

  The requirement to provide Installation Information does not include a
requirement to continue to provide support service, warranty, or updates
for a work that has been modified or installed by the recipient, or for
the User Product in which it has been modified or installed. Access to a
network may be denied when the modification itself materially and
adversely affects the operation of the network or violates the rules and
protocols for communication across the network.

  Corresponding Source conveyed, and Installation Information provided,
in accord with this section must be in a format that is publicly
documented (and with an implementation available to the public in
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    GNU General Public License for more details.

    You should have received a copy of the GNU General Public License
    along with this program. If not, see <https://www.gnu.org/licenses/>.
        Case: 1:18-cv-05369 Document #: 33-4 Filed: 10/15/18 Page 12 of 12 PageID #:883
Also add information on how to contact you by electronic and paper mail.

  If the program does terminal interaction, make it output a short
notice like this when it starts in an interactive mode:

    <program> Copyright (C) <year> <name of author>
    This program comes with ABSOLUTELY NO WARRANTY; for details type `show w'.
    This is free software, and you are welcome to redistribute it
    under certain conditions; type `show c' for details.

The hypothetical commands `show w' and `show c' should show the appropriate
parts of the General Public License. Of course, your program's commands
might be different; for a GUI interface, you would use an "about box".

  You should also get your employer (if you work as a programmer) or school,
if any, to sign a "copyright disclaimer" for the program, if necessary.
For more information on this, and how to apply and follow the GNU GPL, see
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